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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                        M.H., et al.,
                                   7                                                        Case No. 11-cv-02868-JST
                                                         Plaintiffs,
                                   8                                                        ORDER RE: LETTER BRIEF
                                                    v.                                      CONCERNING CORIZON
                                   9                                                        DEFENDANTS' PRODUCTION OF
                                        COUNTY OF ALAMEDA, et al.,                          FINANCIAL INFORMATION
                                  10
                                                         Defendants.                        Re: ECF No. 289
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Before the Court is the parties’ joint letter addressing their dispute over production of

                                  14   Defendant Corizon Health, Inc.’s financial information. J. Ltr., ECF No. 289.

                                  15           Plaintiffs seek financial information from Corizon for the period January 1, 2008, to the

                                  16   present for purposes of pursuing punitive damages at trial. Corizon agrees to produce responsive

                                  17   records for 2012–2013 only, and only if Plaintiffs’ deliberate indifference claim survives summary

                                  18   judgment, but objects to production of responsive records relating to prior fiscal years on the

                                  19   grounds that the request is unnecessarily broad. Corizon also agrees to produce unspecified 2013–

                                  20   2014 “reports,” which Corizon states “probably would be available by the end of April 2014.” J.

                                  21   Ltr. at 4.

                                  22           “[E]vidence of a tortfeasor's wealth is traditionally admissible as a measure of the amount

                                  23   of punitive damages that should be awarded.” City of Newport v. Fact Concerts, Inc., 453 U.S.

                                  24   247, 270 (1981). Indeed, in California, evidence of the resources of the alleged wrongdoer is a

                                  25   prerequisite to the award of punitive damages. Adams v. Murakami, 54 Cal. 3d 105, 114 (1991).

                                  26   However, the right to privacy constrains the scope of discovery of financial information. In

                                  27   determining whether the right to privacy will prevent disclosure, California courts balance the

                                  28   right against the countervailing public interest in disclosure. Hooser v. Super. Ct., 84 Cal. App.
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                                   1   4th 997, 1004 (2000).

                                   2          Confronting the same issue presented here, the court in Vieste, LLC v. Hill Redwood Dev.,

                                   3   No. 09-cv-04024-JSW (DMR), 2011 WL 855831 (N.D. Cal. Mar. 9, 2011), concluded that the

                                   4   interests favoring disclosure, including the interest in “facilitating the ascertainment of truth” and

                                   5   obtaining “just resolution of legal claims” outweighed the interest in non-disclosure. Id. at *2

                                   6   (quoting Moskowitz v. Super. Court, 137 Cal.App.3d 313, 316 (1982); Valley Bank of Nev. v.

                                   7   Super. Ct., 15 Cal.3d 652, 657–58 (1975)). The court also rejected the argument that disclosure

                                   8   should wait until the plaintiffs could show entitlement to punitive damages, or until the close of

                                   9   the liability phase of the trial, because the case was in an advanced procedural posture, and the

                                  10   defendants’ finances would be valuable to all parties in appraising the case and supporting

                                  11   settlement efforts. Id.; see also Salisbury v. Hickman, No. 12-cv-01098-LJO, 2013 WL 4402789,

                                  12   at *5 (E.D. Cal. Aug. 14, 2013) (citing E.E.O.C. v. California Psychiatric Transitions, 258 F.R.D.
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                                  13   391, 394 (E.D. Cal. 2009) (noting “a majority of federal courts permit discovery of financial

                                  14   information about the defendant without requiring [the] plaintiff to establish a prima facie case on

                                  15   the issue of damages”). Finally, to the extent public disclosure is a concern, the Vieste court

                                  16   observed that the concerns may be adequately addressed via a protective order.

                                  17          However, the Vieste court limited the scope of the discovery requests because “Plaintiffs

                                  18   are entitled to discover only those documents and information necessary to establish Defendants'

                                  19   current financial condition and net worth.” Id. at *3 (emphasis added). Noting that past earnings

                                  20   and net worth “cannot reasonably lead to relevant information on the issue of punitive damages,”

                                  21   id. (quoting Hughes v. Groves, 47 F.R.D. 52, 55 (W.D.Mo.1969)), the court limited discovery of

                                  22   financial information to the prior two years.

                                  23          This Court adopts the approach of the Vieste court. While Corizon’s financial information

                                  24   is plainly relevant to Plaintiffs’ entitlement to punitive damages, that relevance diminishes as the

                                  25   information gets older. The Court finds that two years strikes a reasonable balance between the

                                  26   public’s interest in disclosure and Corizon’s interest in non-disclosure. See, e.g., EEOC, 258

                                  27   F.R.D. at 395. The Court also finds that the information should be produced now.

                                  28          Finally, because Corizon has indicated that its most recent financial information is not yet
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                                   1   available, the Court will order Corizon to produce records for the two most recent fiscal years that

                                   2   are available. Should more current financial information become available prior to the conclusion

                                   3   of trial, Plaintiffs will be entitled to that information as well.

                                   4           For the foregoing reasons, the Court now ORDERS as follows:

                                   5           1.      Within ten days from the date of this Order, Corizon shall produce to Plaintiffs

                                   6   copies of Corizon Health, Inc., and/or Prison Health Services’ annual balance sheets, annual

                                   7   statements of income, annual statements of cash flow, annual profit and loss statements, and

                                   8   annual shareholder reports for the two most recent available fiscal years.

                                   9           2.      Should documents of the types just described become available for a more recent

                                  10   fiscal year prior to the conclusion of trial, Corizon shall produce those documents immediately.

                                  11           IT IS SO ORDERED.

                                  12   Dated: March 29, 2014
Northern District of California
 United States District Court




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                                                                                                         JON S. TIGAR
                                  14                                                               United States District Judge

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